
In re Dickerson, William; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Calcasieu, 14th Judicial District Court Div. G, No. 6926-89; to the Court of Appeal, Third Circuit, No. KH 05-00064.
Denied. Repetitive, time-barred, and not cognizable on collateral review. La. C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
KNOLL, J., recused.
